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IN THE UNITED STATES DISTRICT
COURT FOR THE EASTERN
DISTRICT OF VIRGINIA
Norfolk Division

SDC, INC.,

Plaintiff,
v. Case No. 2:23cv418
OASIS POOLS & HARDSCAPES,
LLC,
SAVVAS SAKKADAS,
INDIVIDUALLY,
AND
WILLIAM HENRY, INC.,

D/B/A

TIDAL WAVE GRAPHICS

Defendants.

ORDER

UPON CONSIDERATION of the Consent Motion to Extend Responsive Pleading
Deadline filed by Defendants Oasis Pools and Hardscapes, LLC, and Savvas Sakkadas,
individually, it is hereby

ORDERED that the Consent Motion is hereby GRANTED, and further,

ORDERED, that the time by which Oasis Pools and Hardscapes, LLC, and Savvas
Sakkadas, individually, must file their responsive pleadings to the Complaint [ECF No. 1]
has been extended until November 3, 2023.

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BY:

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